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EXHIBIT “A-l”

 

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Esther Degoilado
District C|erk
q d V_ l Webb District
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CAUSENO‘ 0 l §OZZ D 2017<:\/\-\00202201
CELSO MARTINEZ, JR. § 7 IN THE DISTRICT COURT
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v § w JUDICIAL DIsTRCT COURT
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TRAVELERS LLOYDS OF TEXAS §
FNSURANCE COMPANY AND §
ANNA DAVlS § WEBB COUNTY, TEXAS
PLAI TIFF’ O IG AL `r"E I)E D F Y

AND wRITTEN eiscovERY To I)EFENDANT

TO THE HONORABLE JUDGE OF SAID ilGU-RT:

NOW COMES, CELSO MARTINEZ, JR. hereinafter called “Plaintiff,” complaining of
TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY AND ANNA DAVIS, hereinafter
called “Defendants,” and for cause of action would respectfully show unto the C'ourt the following

I.
PARTIES AN.D RULE 190 DISCOVERY LEVEL

Plain-t-iff is an individual residing in Web|:) County, Texas. Discovery should be -I:evel III.
Defendant, TR=AVELERS LLOYDS 'OF TEXAS INSURANCE COMPANY is a Dornestic
corporation authorized to engage in the insurance business in the State of Texas, may be served by
serving its attorney for service ofprocess, Corporation Service Company, 211 East 'TT" Street, Suite
620, Austin, Texas 78701. Service is requested by certified mail, return receipt requested at thistime.
Defendant ANNA DAVIS is an individual residing in and domiciled in the State of Texas. This

Defendant may be served with personal process by certified mail, return receipt requested at her

 

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principal place of business at 8122 Lake .]une Road, Dallas, Texas 75217 or Wherever she may be
found.
Ii.

AGENCY AND RESPONDEAT SUPERIOR

W henever in this petition it is alleged that the Def`endant did any act or omission, it is meant that
Defendan-t itself or their agents, officers, servants, employees, or representatives did such act or
omission, and it was done with the full authorization or ratification of Dei"endan_t or done in the normal
routine, course and scope of the agency or employment of Defendant or their agents, ofticers, servants,
employees, or representatives

IlI.

'i`his suit is brought pursuant to the law of good faith and fair dealing as Well as under common
law and Chapters 541 and 542 of the Texas insurance Code and the Texas Deceptive Trade Practices
Act. This suit is also brought for breach of contract, and for recovery under a policy of insurance
Plaintiff is a consumer of the Defendant, in that he purchased insurance from said entity and/or service
to loe-provided by it. Said Det`endant is-a-n-“individual corporation, association, partnership or other
legal entity engaged in the business of insurance.” Such Defendant constitutes persons as that term is
defined in Chapter 541.002 of the Texas insurance Code.

IV.

Del"endant, TRAVELERS LLOYDS Oh TEXAS INSURANCE COMPANY, is Plaintit"f’s
homeowners’ insurance company. The actions set forth in this complaint were committed by the
Defendant, or its actual or apparent agents. Plaintif‘f owns and resides in a dwelling at 511
Minuteman, Laredo, Texas 78046. Defenclant provided coverage to the Plaintiff under a
Homeowners’ policy, for such dwelling, personal property, and other matters under insurance policies
described above. During the policy term of said policy, Plaintiff sustained covered losses in the form

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of storm damage, including but not limited to damage from wind and/or hail and damages resulting
therefrom, and Plaintiff promptly and timely and properly reported same to Defendant pursuant to the
terms of the insurance policy. Plaintiff gave timely notice of the facts of loss and Defend ant assigned
claim number LF39139 for date of loss 02/19/2017.

Defendant TRAVELERS LLQYDS, OF TEXAS lNSURANCE COMPANY assigned
Defendant ANNA DAVlS as the individual adjuster on the claim. Adjuster ANNA DAVIS and those
working at her direction conducted a substandard investigation which is evident in the estimate provided
and correspondence from Defendan-ts to Plaintiff. ANNA DAVIS and those at her direction spent a_n
inadequate amount of time at the subject residence, totaling approximately thirty minutes. No attic
inspection was performed and no testing for wind damage to shingle adhesive strips or felt Was
conducted As a resuit, it is evidentfrom her report that he failed to include many of Plaintifi"’ s covered
damages which would have been apparent upon proper inspection Despite obvious storm damage to
various portions of the home, ANNA DAVlS improperly denied policy benefits by minimizing scope
and improperly denying causation._Defendant ¢ANNA DAVIS misrepresented to Plaintiff that such
damage to the Property was not covered under the Policy, even though the damage was caused by a
covered occurrence

ANNA DAVlS misrepresented the policy provision in correspondence to the insured in order to
misinform Plaintiff and reduce his understanding of his rights under the policy below what was actually
covered by the policy. Exclusionary language clearly inapplicable to the loss or claim was cited by
ANNA DAVIS*in order to convince Plaintiff his'loss was not covered in whole or in part, When in fact
it was a covered loss. As such, Defendants knowingly or recklessly made false representations, as
described, as to material facts and/ or knowingly conceaied all or part of material information from

Plaintiff.

 

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V.
The Plaintiff’ s home sustained damages caused by the wind/hail perii, including damage to the

roof and architectural finishes. Damages include the cost of construction, repairs, and restoration of the

h-ome, necessary to repair the damages to Plaintiff’s residence These constituted covered damages
under Plaintiff` s homeowners’ insurance policy with the Defendan~t, TRAVELERS LLOYDS OF

TE_XAS INSURANCE COMPANY.

VI.

Defendant, TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY,- and ANNA
DAVlS have had ampie opportunity to inspect Plaintiff’ s property, in connection with Plaintift` s claim
for property damage Defendant knew or should have known that Plaintiff had sustained significant
damage to the property, requiring significant repairs as a result of a loss and peril covered by the
insurance policies TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY AND ANNA
DAVIS were also made aware of the need to perform repairs to the damages to Piaintiff’s home as a
result of the windeandr'or hail stonn. TRAVELERS LLOYDS OF TEXA.S INSURANCE COMPANY
AND ANNA DAVIS knew that a substantial covered loss Was owed. Nonetheless, 'I`}L/$l\fELERSj
LLOYDS OF TEXAS lNSURANCE CO-MPANY AND"ANNA DAVIS denied, delayed, grossly
underpaid, and/or failed to properly investigate some or~all of Plaintiff’s covered losses with no
reasonable basis. TRAVE'LERS LLOYDS OF TEXA-Sr INSURANCE COMPANY AND ANNA
DAVlS have failed to act promptly or to a good faith investigationl This is bad faith claim delay
and/or denial and a violation of Chapters 541 and 542 of the Texas,lnsurance Code. TRAVELERS
LLOYDS OF TEXAS INSURANCE COMPANY AND ANNA DAVIS violated Article Chapters 541
and 542 of the Texas Insurance Code, and is liable for the actual damages, statutory penalties and

attorney’s fees provided for therein.

 

 

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V[l,.

Despite the fact that aii conditions precedent to Plaintiff’s recovery have been performed or have
occurred, Defendant has failed and refusedto pay the 'Plaintlff ajust amount in accordance with their
contractual obligations, agreements, and` representations ln fact, after such refusals to pay and
investigate, Plaintiff was forced to tile suit to seek the policy benefits to which she is entitled
TRAVELERS LLOYDS OF TEXAS lNSURANCE COMPANY AND_ ANNA DAVIS knew that
substantial damage had been`caus.ed by the loss, and yet refused to investigate most or all of such

damages

VI 11.

Such denials, delays, refusals and/or failures to pay by TRAVELERS LLOYDS OF TEXAS
[NSURANCE COMPANY AND ANNA DAViS was in bad faith, and constitute breaches of the
covenant of good faith and fair dealings, which breaches were a proximate cause of damages to the
Plaintiff, more specifically set forth herein below. There was no reasonable basis for denying,
de'laying, or failing to pay or investigate Pl-aintiff’s claims for damage, and TRAVELERS LLOYD S'OF
TEXAS INSURAN CE COMPANY AND ANNA DAVIS knew or should have known that there was no
such reasonable basis to deny, delay, and fail to pay such claims. Defendant conducted-an outcome-
oriented investigation with the intentfof either denying or underpaying the ciaim. Th,eaconduct of
Defendant, TRAVEl;ERS LLOYDS OF TEX?-'\S lNSURANCE COMPANY AND ANNA DAVIS
was irresponsible, unconscionable and took advantage of the Piaintiff’ s lack of sophistication in
insurance matters to a grossly unfair degree. Furthermore, the conduct of Defendant, TRAVELERS
LLOYDS OF TEXAS [NSURANCE COMPANY AND ANNA DAVIS, amounts to one or more of
the following:

(a) not attempting in good faith to effectuate prompt, fair, and equitabie settlements of claims

submitted in which liability has become reasonably clear in violation of Chapter 542 of the
Texas lnsurance Code; 7

 

 

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(b) refusing to pay claims without conducting a reasonable investigation based upon all
available information in violation of Chapter 541 of the Texas insurance Code;

(c) failing to handle or process the Plaintiff’ s claims in good faith; in violation of common law
as expressly stated by the Texas iSupreme Court in Vail v. Texas_Farm Bureau, 754 S.W.Zd
129 at 135 (Tex. 1988); -

(d) committing a course of conduct'that is unconscionable;

(e) omitting any information or making any false impiication or impression that was either
misleading or deceptive or had the capacity to be misleading or deceptive in violation of
Chapter 541 of the Texas insurance Code;

(f) refusing to fully pay a claim without a reasonable basis in violation of commoniaw;

(g) delayingful-l payment of a claim without a reasonable basis in violation of common law;

(h`) denying and/or delayingpayment of a claim in full without determining whether there is any
reasonable basis to do so in violation of common law;

(1) representing that goods or services have sponsorship, approval, characteristics, ingredients,
uses, benefits, or quantities which they do not have or that a person has a sponsorship,
approval, status, affiliation, or connection which they do not;

(i) representing that goods or services are of a particular standard, quality, or grade, or that
goods are cfa particular style or model, if they are ofanother;

(k) representing than an agreement confers or involves ri ghts, remedies, or obligations which it
does not haveer involve, or which are prohibited by law;

(i) -failing to disclose information concerning goods or services which was known at the time of
the transaction if such failure to disclose such information was intended to induce the
consumer into a transactiorr'into which the consumer would not have entered had the

information been disclosed; and

(m} violations of Chapter 541 of the Texas insurance Code, in that they misrepresented the
terms of the policy or other facts.

iX.

As a result of all of such conduct, Plaintiff has been damaged in an amount in excess of the
minimum jurisdictional limits of this Court. in addition, the conduct of TRAVELERS LLOYDS OF
TEXAS iNSURANCE COMPANY AND ANNA DAVIS was committed knowingiy, and under
circumstances constituting willful and wanton and reckless disregard of the rights of the Plaintiff and

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others similarly situated Such conduct of TRAVELERS LLOYDS OF TEXAS INSURANCE
COMPANY AND ANNA DAVIS 'was negligent and tortuous. The conduct of TRAVELERS
LLOYDS OF TEXAS INSURANCE COMPANY AND ANNA DAVIS constituted negligent
misrepresentation of fact, or actionable fraud. The conduct of TRAVELERS LLOYDS OF TEXAS
INSURANCE COMPANY AND ANNA DAVIS proximately caused the injuries and damages to the
Plaintifffor which he sues.

X.

All of the conditions precedent to"bringing this suit under the policy and to the Defendant
liability to the Plaintiff under the policy for the claims alleged have been performed or have occurrcd.
Xl.

Defendant has, by its conduct, breached their contract of insurance with the Plaintiff. Suchj
breach proximately caused damages to the Plaintiff including consequential damages ln addition,
P laintiff is entitled to recover attorney’s fees in connection with PlaintifF s contractual causes ofaction.
ln addition, as a supplement to such contractual causes of actio-n, each Defendant is liable for the
statutory damages and penalties set out-in Chapter 542 of the Texas lnsuranceCode.

Xll.

Defendant owes the Plaintiff significant sums for known losses.r Further, under the contractof
insurance, the Defendant owes the Plaintiff reasonable compensation for additional living expenses
because repairs to be performed to their residence and required by the above losses will require that they
incur living expenses over and above those normally incurred while residing in the home.

Xlll.

The conduct of TRAVELERS LLOYDS OF TEXAS INSURANCE COMPANY AND

ANNA DAVIS was knowing and therefore may be subject to liability for additional damages under

the Texas lnsurance Code, and/or the Texas Deceptive Trade Practices Act, Plaintiff and Plaintiff’s

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attorney are also entitled to attorney’s fees in connection with the bringing of this action for breach of
contract or under relevant statute. in the alternative, TRAVELERS LLOYDS OF TEXAS
INSURANCE COMPANY AND ANNA DAVIS’ conduct was malicious and fraudulent, and
therefore, Plaintiff seeks punitive damages

XiV.

All of the conditions precedent to bringing this suit under the policy and to the Defendant
liability to the Plaintiff under the policy for the claims alleged have been performed or have occurred, or
compliance with said notice is excused, or rendered impractical due to the approaching statute of
limitations on this matter. More than sixty days prior to the filing of this petition, written demand for
payment and notice of complaint pursuant to the Texas lnsurance Code, Chapter 541, et seq., was sent
to the Defendant, or compliance with said notice is excused All notices and proofs of loss were timely
and properly given in such manner as to fully comply with the terms and conditions of the relevant
insurance policies and applicable law. Plaintiff complied With all terms and conditions of the policy,
but her claim was nonetheless not paid in ful'l. Such refusals to pay waive anyfur`ther compliance with
said policy by Plaintij£and leave him free to suefor those bene]’its'to-which he is entitled that were
denied or underpaid ln the-alternative, Plaintiff alleges that as to any such terms, conditions, notices, or
requirements, the Defendant waived them, the Defendant is estopped from asserting them, and/or the

laintiff substantially complied with them. Plaintiff makes the same allegations of waiver or estoppel as
to every defense, condition, or exclusion pleaded by the Defendant, and as to each claim for breach of
contract or statutory violation as to said Defendant
XV.

As to any exclusion or endorsement relied upon by the Defendant, Plaintiff would show that

such is void and does not form a portion of Plaintiff’ s insurance policy with Defendant, TRAVELERS

LLOYDS OF TEXAS IN`SURANCE COMPANY . The reason this is so includes, but is not limited

 

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to the following:

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there is no consideration for such exclusion;

such exclusion or exclusionary endorsement was not delivered with the policy, and
hence is"of no force and effect;

such exclusion violates Chapters 541 and 542 of the Texas insurance Code, and it is
void as against public policy;

such exclusion and its use in this case violates Chapter 541 and 542 of the Texas
insurance Code and is void as against public policy;

such exclusion violates Chapter 541 and 542 of the Texas lnsurance Code and is
unconscionable, and is void as against public policy;

such exclusion is adhesive;

any such exclusion is void as against public policy against creating a forfeiture, or ex
post~facto penalty;

the attachment of such exclusion constitutes bad faith cancellation of a portion of tlie
Plaintiff(s)’ policy with Defendant(s). ln particular, such cancellation of a portion of
Plaintiff(s)’ coverage was in violation of the policy contract’s own terms and also in
violation of Chapter 541 and 542 of the Texas lnsurance Code of the Texas lnsurance
Code. Such exclusion shouldbe declared void, and of no force and effect, and the
policy should be reformed to so reflect;

tire clear and unambiguous language of the policy provides coverage for dwelling
damage caused by water, including the cost of access to fix any leaking piumbin-g,
system, or appliance

'ln the alternative, any other constructiorrof the language of the policy is void as against"
public policy;

in the alternative, should the Court find any ambiguity in the policy, the rules of
construction of such policies mandates the construction and interpretation urged by
Plaintiff(s);

ln the alternative, Defendant(s)- is/arejudicially, administratively, or equitably estopped
from denying Plaintiff(s)’ construction of the policy coverage at issue;

ln the alternative, to the extent that the wording of such policy does not reflect the true
intent of all parties thereto, Plaintiff(s) plead (s) the doctrine of mutual mistake requiring
reformation

Such exclusion or interpretation is void as against public policy and/or in violation of

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thc Texas lnsurance Code.

(o) The clear and ambiguous language of the policy provides coverage for dwelling damage
caused by accidental water leakage from a plumbing, heating, or air conditioning system
or other appliance, including the cost of access to fix the leaking system, regardless of
any other language or exclusion in thepolicy.

XVl.

-Plaintiff asserts all statutory claim-s,-demands, and causes of action assertable under state law
from the pleaded scenario and facts, but only seeks breach of contract and Chapter 542 of the Texas
insurance Code causes of action against TRA'VELERS LLOYDS OF TEXAS INSURANCE
COMPANY at this time for actual damages and attorney’s fees Chapter 542 penalties Plaintiff seeks
from TRAVELERS LLOYDS OF TEXAS lNSU-RANCE COMPANY actual1 additional, exemplary,
as well as all other damages and penalties available at law, including loss of the use and enjoyment of
the home.

' XVII.
DEMAND FOR JURY

Pursuant to Rule 216 of the Texas Rules of C-,i.vil Procedure, Plaintiff herein request ajury trial.

-XlVlII.
REQUEST FOR MEDTATION

Section 154.02l(a) Pursuant to Tex. Bus.& Comm. Code Sec 17.5051 Plaintiff requests the
Court, pursuant to the mandatory directive of the statute, within 30 days of this motion, sign an order
compelling the parties to mediation and setting the time and place for the mediationl Pursuant to 17.5051
the mediation should be held within 30 days after the date the order is signed
WHEREFORE, PREMISES CONS]DERED, Plaintiff respectfully request this llonorable Court
that upon final hearing and trial hereof, this Honorable Court grant to the Plaintiff such relief as to
which she may show herself justly entitled, either at law or in equity, either general or special,

including_iudgment against the Defendant for actual damages, attorney’s fees, costs of suit, statutory

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penalties, and prejudgment and postjudgment interest, if allowed by law, and includingjudgrnent for
additional damages and punitive damages under the facts set forth in this cr anyarnended pleading
Respectfully submitted,

FURLOW LAW FIRM, PLLC
1032 Central Parkway South
San Antonio Texas 78232
Telephone: (210)910.4501
'I`elecopier: (210)910.45]3

By: ,"s/ l'l'zcmas M. Furlow
TH'OMAS M. FURLOW
State Bar No. 00184093
Email: tfurlow@furiowlawfirm.com
ATTORNEY FOR PLAINTIFF t

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PLA[NTIFF’S REOUESTS FOR DISCLOSURE TO DEFENDANT

Pursuant to ”fexas Rule of Civil Procedure 194, you are hereby requested to disclose, within fifty

(5()) days of service of this request, the information or material described in Rule 194.2(a)-(k), as

described below:

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the correct names of the parties to the lawsuits;

the name, address, and telephone number of any potential parties;

the legal theories and, in general, the factual basis of Plaintiff`sclaims;

the amount and any method of calculating economic damages;

the name, address and telephone number of persons having knowledge of relevant facts,

and a brief statement of each identified person’s connection with the case;

for any testifying expert:

(1) the expert‘s name, address and telephone number;

(2) the subject matter on which the expert will testify;

(3) the general substance of the expert’s mental impressions and opinions and a
brief summary of the basis ofthem, or if the expert is not retained by, employed,
or otherwise subject to the control of Plaintiff, documents reflecting such
information;

(4) if the expert is retained, employed by or otherwise subject to the control of
Plaintiff:

(A) all documents, tangible things, reports, models, or data compilations that
have been provided to, reviewed by, or prepared by or for the expertin
anticipation of the expert’s testimony;

(B) the expert’s current resumeand b-i-bliography;

any indemnity or insuring agreements;

any settlement agreements, described in Rule192.3(g);

any witness statements, described-in Rule 192.3(11_);_

all medical records and bills that are reasonably related to the injuries or damages

asserted or, in lieu thereof, an authorization permitting the disclosure of such medical

records and bills;

all medical records and bills obtained by the responding party by the responding party by

virtue of an authorization furnished by the requesting party.

l.

ln accordance with Texas Rule of_Civil Proced.ure 194.3, please serve written responses

within fifty (50) days after service of this request.

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lI.

ln compliance with Ru le 194.4 of the Texas Rules of Civil Procedure, please produce
responsive documents to the Furlow Law Firm, PLLC 1032 Central Parkway South, San Antonio
Texas 78232.

Respectfully submitted,

FURLOW LAW 'FiRl\/I, PLLC
i032 Central Parl<way South
San Antonio Texas 78232
Teiephone: (210)910',4501
Telecopier: (210) 910.4513

By: /s/ Hromas M. Furlow'
THOMAS M. FURLOW
State Bar No. 00784093
Email: tfurlow@furlowlawtirm.com
ATTORNEY FOR PLAINTIFF

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